      Case 4:16-cv-00798 Document 32 Filed on 03/21/17 in TXSD Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

D. PATRICK SMITHERMAN                           §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §                Civil Action No. 4:16-cv-798
                                                §
BAYVIEW LOAN SERVICING, LLC                     §
AND BAYVIEW LOAN SERVICING                      §
                                                §
       Defendants.                              §



                        NOTICE OF APPEARANCE OF COUNSEL

       The undersigned attorneys, Mark D. Hopkins and Shelley L. Hopkins of Hopkins Law,

PLLC hereby notify the Court that they are entering an appearance as Counsel for BAYVIEW

LOAN SERVICING, LLC AND BAYVIEW LOAN SERVICING, Defendants in the above-

entitled and numbered cause. Please forward all notices and pleadings to the undersigned counsel

to listed below:



                                   HOPKINS LAW, PLLC
                                 3809 Juniper Trace, Suite 101
                                     Austin, Texas 78738
                                    Phone: (512) 600-4320
                                  Facsimile: (512) 600-4326
                                 mark@hopkinslawtexas.com




Notice of Appearance
H610-1707 Smitherman                                                              PAGE 1
     Case 4:16-cv-00798 Document 32 Filed on 03/21/17 in TXSD Page 2 of 2



                                             Respectfully Submitted,

                                             HOPKINS LAW, PLLC

                                              By:      /s/ Mark D. Hopkins        ___________
                                                    Mark D. Hopkins
                                                    Texas State Bar No. 00793975
                                                    Southern District ID No. 20322
                                                    Shelley L. Hopkins
                                                    Texas State Bar No. 24036497
                                                    Southern District ID No. 926469
                                                    3809 Juniper Trace, Suite 101
                                                    Austin, Texas 78738
                                                    Telephone: (512)600-4320
                                                    Facsimile: (512) 600-4326
                                                    mark@hopkinslawtexas.com.com
                                                    shelley@hopkinslawtexas.com

                                                    ATTORNEYS FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

       I certify that a copy of foregoing Notice of Appearance has been served on all parties and
counsel of record and parties listed via the method indicated below on this the 21st day of March,
2017.

VIA CM/RRR# 7015 1520 0001 3934 3730
VIA REGULAR MAIL
AND VIA EMAIL
D. Patrick Smitherman
1044 W. 25th Street #E
Houston, Texas 77008
dpatricksmitherman@yahoo.com


                                                      /s/ Mark D. Hopkins
                                                    Mark D. Hopkins




Notice of Appearance
H610-1707 Smitherman                                                                PAGE 2
